Case 2:20-cv-01422-WJM-JSA                  Document 41      Filed 08/23/24                       Page 1 of 1 PageID: 568




                                 UNITED STATES DISTRICT COURT
                                    DISTRlCT OF NEW JERSEY

   Full Caption in District Court:                                     Docket No.: 18-cv-11693

        Jason Jorjani                   (



                   (plaintiff)                ___________ --Lu4ge: Martini _
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               v.                                                      Notice of Appeal to the
        NewJersey Institute of Ted                                     U.S. Court of Appeals for the
               (Defendant)                                             Third Circuit



          Notice is hereby given that   _J_a_s_o_n_J_o_rj_a_n_i________--'-_
                                                       (Named Party)
          appeals to the United States Court of Appeals for the Third Circuit from

          [ ] Judgment, Worder, [ ] Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         (Specify)
          of the United States District Court, District of New Jersey, entered in this action on

          July 31,2024
          (Date)



                                                          Jason Jo~ani clo Law Office of Patrick Trainor, Esq., LLC
   Dated: August 22, 2024
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